     Case 1:16-cr-00176-ADA-BAM Document 158 Filed 11/08/18 Page 1 of 3


 1   CAROL ANN MOSES #164193
     Attorney at Law
 2   7636 N. Ingram Ave., #104
 3   Fresno, California 93711
     Telephone: (559) 449-9069
 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant, GARRY SAMPSON

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        CASE NO. 1:16-cr-00176-DAD-BAM &
                                                       CASE NO. 1:12-cr-00028-DAD-BAM
12                       Plaintiff,
                                                       DEFENDANT GARRY SAMPSON’S
13           v.                                        REQUEST FOR A DAY PASS ON
                                                       NOVEMBER 12, 2018 FOR PROGRAM
14    GARRY SAMPSON,                                   INTERVIEW; & ORDER
                                                       THEREON
15                      Defendant.

16

17
                                             BACKGROUND
18
            On November 5, 2018, sentencing in Case #1:12-cr-00028 and Case #1:16-cr-00176 was
19
     continued until December 3, 2018, in order to more thoroughly explore program options for
20
     Defendant Garry Sampson.
21
            The court advised it would authorize a day pass from the Fresno County Jail where Mr.
22
     Sampson is incarcerated in order to travel with a defense investigator to Delancey Street for an
23
     interview with that organization.
24
                                            CURRENT STATUS
25
            Defense Counsel spoke with Delancey Street on Tuesday, November 6, 2018. Ira at Intake
26
     confirmed Mr. Sampson would have to go to San Francisco for an interview with the program
27
     administration before acceptance. Admission criteria were discussed as well as the general
28


                                                 1
     Case 1:16-cr-00176-ADA-BAM Document 158 Filed 11/08/18 Page 2 of 3


 1   Delancey Street Foundation philosophies.

 2          Kathy Grinstead of Early Intervention Services, located at 4486 East Donner Avenue,

 3   Fresno, CA 93726, and whose phone number is (559) 970-8180, will meet with Mr. Sampson at

 4   the Fresno County Jail for a pre-assessment on Wednesday, November 7, 2018. Teri Rothschild,

 5   her investigator, will transport Mr. Sampson to Delancey Street, located at 600 Embarcadero

 6   Street, San Francisco, CA 94107. Delancey Street’s phone number is (415) 957-9800. If the Court

 7   agrees, transport will be on MONDAY NOVEMBER 12, 2018: leaving the Fresno County Jail at

 8   5:00 AM, and returning Mr. Sampson to the Fresno County Jail by close of business

 9   NOVEMBER 12, 2018.

10          Ms. Grinstead will contact Delancey Street in advance of Monday so the Delancey Street

11   Foundation knows Mr. Sampson will be driving from Fresno to San Francisco on a Day Pass

12   from the Fresno County Jail.

13                                         CONCLUSION

14          Mr. Gary Sampson, Defendant in Case #1:12-cr-00028 and Case #1:16-cr-00176 requests

15   the Court order him released from the Fresno County Jail for a Day Pass on Monday, November

16   12, 2018 at 5:00 AM to travel with Teri Rothschild, a defense investigator working for Early

17   Intervention Services, to the Delancey Street Foundation in San Francisco for purposes of an

18   interview for suitability for the program.

19                                                       Respectfully Submitted,

20
21   Dated: November 7, 2018                             /s/ Carol Ann Moses
                                                         CAROL ANN MOSES
22                                                       Attorney for Defendant,
                                                         GARRY SAMPSON
23

24

25

26
27

28


                                                  2
     Case 1:16-cr-00176-ADA-BAM Document 158 Filed 11/08/18 Page 3 of 3


 1                                                ORDER
 2          GOOD CAUSE APPEARING, the above request for Defendant GARRY SAMPSON to
 3   be released from the Fresno County Jail on a Day Pass on Monday, November 12, 2018, to be
 4   driven by Teri Rothschild, defense investigator for Early Intervention Services, to San Francisco

 5   for an interview with Delancey Street for the purpose of determining suitability and acceptance
     into the Delancey Street program, is hereby granted. The following is hereby accepted and
 6
     adopted as the Order of this Court in Case #1:12-cr-00028 and Case #1:16-cr-00176:
 7
                 1. Mr. Sampson shall be released from the Fresno County Jail to Teri Rothschild on
 8                  Monday November 12, 2018 at 5:00 AM and transported by Ms. Rothschild to
 9                  Delancey Street located at 600 Embarcadero, San Francisco, CA 94107. (415)-
10                  957-9800.

11               2. After the interview with the Delancey Street Foundation, Mr. Sampson will be
                    returned to the Fresno County Jail by Ms. Rothschild before the close of business
12
                    on November 12, 2018.
13

14   IT IS SO ORDERED.

15      Dated:     November 8, 2018
                                                      UNITED STATES DISTRICT JUDGE
16

17

18

19

20
21

22

23

24

25

26
27

28


                                                 3
